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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION

    Root, Inc., et al.,                           :
                                                  :   Case No. 2:23-cv-512
                      Plaintiffs,                 :
                                                  :   Judge Sarah D. Morrison
            v.                                    :
                                                  :   Magistrate Judge Elizabeth Preston Deavers
    Silver, et al.,                               :
                                                  :
                      Defendants.                 :
                                                  :

APPLICATION FOR ENTRY OF DEFAULT AGAINST DEFENDANTS COLLATERAL
            DAMAGE, LLC AND ECLIPSE HOME DESIGN, LLC

           Plaintiffs Root, Inc., Caret Holdings, Inc., and Root Insurance Agency, LLC (“Plaintiffs”

or “Root”) request that the Clerk enter default against Defendants Collateral Damage, LLC, and

Eclipse Home Design, LLC (collectively, “Defendants”) pursuant to Federal Rule of Civil

Procedure 55(a) and this Court’s July 5, 2023 Order requiring Defendants to obtain counsel or face

default.1 To date, Defendants have failed to retain counsel and defend against this action. In

addition, Defendants have failed to move or plead in response to the Second Amended Complaint.

Accordingly, an entry of default is appropriate.




1
    In accordance with Fed. R. Civ. P. 55(a), an affidavit showing Defendants’ failure to plead or
    otherwise defend is attached. (Declaration of Elizabeth S. Alexander in Support of Plaintiffs’
    Motion for Entry of Default, attached as Exhibit A.)
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                                        Respectfully submitted,

                                        /s/ Elizabeth S. Alexander
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                                        Counsel for Plaintiffs
Case: 2:23-cv-00512-SDM-EPD Doc #: 181 Filed: 11/09/23 Page: 3 of 3 PAGEID #: 1573




                                CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing was filed electronically on

this 9th day of November, 2023 with the Clerk of Court using the CM/ECF system. Service will

be made through the Court’s CM/ECF system on all parties and attorneys so registered, and all

parties may access this filing through the Court’s system.

       A copy was also sent by regular U.S.P.S. mail and email to the following:

       Paige McDaniel
       5576 Alexanders Lake Road
       Stockbridge, GA 30281
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       Eclipse Home Design, LLC
       Registered Agent: United States
       Corporation Agents, Inc.
       651 N. Broad Street, Suite 201
       Middletown, DE 19709

       Butler County Jail
       Attn: Brinson Caleb Silver
       Inmate #303850
       705 Hanover Street
       Hamilton, Ohio 45011

       Collateral Damage, LLC
       Registered Agent: LegalZoom.com, Inc.
       101 N. Brand Blvd., 11th Floor
       Glendale, CA 91203



                                             /s/ Elizabeth S. Alexander
                                             Elizabeth S. Alexander (0096401)

                                             Counsel for Plaintiffs
